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lN THE CchUlT coUR,T oF cLARK CoUNTY, Amc§lil’§§*§°°"m ARKANSAS
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DEVYAN HENDERSON and
RACHE HENDERSON 1 PLAINTIFFS

VS. NO.: l OCU-'] § -Ll~a’

STATE FARM MUTUAL AUTOMOB|LE
INSURANCE COMPAN\’ DEFENDANT
COMPLAlNT .

COMES NOW the Plaintih`s, Devyan Henderson and Rache Henderson, by and through
their cotmsel, Bryce Brewer and Bryce Brewer Law Firm, LLC, and for their cause of action
against the Defendant, State Farm Mutual Automobile lnsurance Company, hereby states the
following:

l. JURISDICTION AND VENUE

l. This is an action for personal injury arising out of the Plaintifl`s being struck by a
car that lost control, veered across the median and into westbound Trafflc on lnterstate 30 at the
68 mile marker. A vehicle operated by Tyler Carter, while traveling too fast for conditions and
traf`f'lc, lost control of his vehicle and struck the Hendersons’ vehicle causing the loss of life to
the passenger in the Carter vehicle later the life of Carter himself and serious, permanent injuries,
physical, mental and emotional to Devyan and Rache Henderson, brother and sister. The
incident complained of occurred in Clark County, Arkansas. Tyler Carter was an underinsured
motorist with insufficient liability insurance coverage when he struck the vehicle operated by

Deyyan Henderson and his passenger, Rache Henderson, on March lO, 2013. This Court has

 

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jurisdiction pursuant to Ark. Code Ann. §16-13-201 with venue being proper in Clark County,
Arkansas pursuant to Ark. Code Ann. §16-60-101 in that the collision occurred in Clark County,
Arkansas.
Il. PARTIES TO THE CLAIM

2. Plaintiff, Devyan Henderson is a resident of l..ittle Rock, Pulaski County,
Arkan.sas. n

3. Plaintif’f`, Rache Henderson at the time of the collision was a resident of the state
of Arlcansas and now currently resides in Florida.

4. Defendant State Farm Mutual Automobile Insurance Company (hereinaf’ter
referred to as State Farm), is a foreign insurance company authorized and licensed to do business
in the state of Arkansas, including, but not limited to Clark County, Arkansas, and upon
information and belief, may be served with process at the Corporation Service Company, 300
Spring Building, Suite 900, 300 S. Spring Street, Little Rock, Arkansas 72201, which is its
registered agent for service as listed by t.he Arkansas lnsurance Department. State Farm is the
underwriter of a policy of underinsured motorist coverage for the Plaintiffs.

III. THE CAUSE OF ACTION
5. On March ]0, 2013, Devyan Henderson and Rache Henderson, brother and sister,
were traveling west on lnterstate 30 in Clark County, Arkansas when an underinsured
motorist crossed the median of the lnterstate striking the vehicle operated by Devyan
Henderson.
6. The collision with the underinsured motorist was almost head-on, causing the

Henderson vehicle to flip four (4) times alter impact.

 

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7. Plaintiff Rache Henderson was trapped in the wreckage and was removed by the
use of the Jaws of Life.

8. Plaintiff, Devyan Henderson, suffered severe and permanent damages as a result
of the collision with the underinsured motorist, including, but not limited to, loss of
consciousness, a distal radius fracture of his wrist, scarring from surgery and resultant Keloid
scarring from his injuries, a loss of use of his hand and wrists, loss of income, loss of earning
capacity and severe mental and emotion scarring, horrendous pain and suffering, etc.

9. Plaintiff Rache Henderson suffered an open fracture of the right fifth metacarpal,
severe injuries to her left ankle, surgical scarring, a loss of consciousness, a diagnosis of post
concussion syndrome; post traumatic stress syndrome; adjustment disorder; anxiety and
depression. She continually experiences vision and balance issues associated with her
injuries.

FAILURE TO PAY UNDERINSURED MOTORIST BENEFITS

lO. At the time of the wreck detailed above, the Plaintiffs, through their father
Ramon C. Henderson, had in effect with State Farrn, a policy of insurance with underinsured
motorist coverage. (Attached as Exhr'blt A). 'I`his coverage provided that in the event the
Plaintiffs should be involved in a wreck caused by the negligence of an underinsured motorist,
the damages would be compensated in an amount not to exceed the limits of said policy. As a
direct and proximate result of Tyler Carter’s negligence, the Plaintiffs have suffered injuries as
stated in the Prayer for Relief.

ll. Under the terms of said policy, Devyan and Rache Henderson were underinsured,

in that Tyler Carter only carried a policy of liability insurance that was insufficient to

compensate the Hendersons for their total damages.

 

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12. Under the terms of the Hendersons’ policy of insurance with State Farm, Devyan
and Rache Henderson were underinsured motorists, and therefore, State Farm has a duty to pay
benefits to Devyan Henderson and Rache Henderson in a sum consistent with their damages

13. Devyan Henderson and Rache Henderson have complied with Ark. Code Ann.

section 23-89-209(c) and (d) in placing State Farm on notice of the limits from Tyler Carter. See

Exhibr`t B.

l4. State Farm has failed to pay said damages after demand has been made pursuant
to the policy.

15. State Farm has failed to comply with the terms of the policy carried by the

Plaintiffs. The Plaintiffs’ claim that they are entitled to recover for damages set forth and
restates them herein. There is no legal basis for State Farm's continuing failure to comply with
the terms of the policy carried by the Hendersons.

l6. Additionally, the Plaintiffs' are entitled to damages in the amount of 12% of the
awarded damages and a reasonable attomey’s fee for the prosecution and collection of loss.

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17. State Farm herein has engaged in a systematic course of conduct in dealing with
its insured that has been dishonest, oppressive, and malicious. The Plaintiffs’ have sustained
extensive damages ti'om such conduct and State Farm has engaged in such conduct in an attempt
to avoid liability under its policy of insurance issued to the Plaintiffs. And, this conduct has
proximately caused damages to the Plaintiffs.

18. 'Ihe Plaintiffs’ have been an insured of State Farm and have maintained no fault
medical payments coverage and coverage for work loss. State Farm has wholly failed to make

payment under their no fault medical pay coverage and no fault work loss coverage. The

 

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Arkansas Supreme Court has specifically held that there is sufficient evidence of bad faith

conduct, without a jury needing to resort to suspicion or conjecture, to support a finding of bad

faith when an insurance company has failed to provide or pay work loss, business expenses, and

no fault medical pay coverage.

COMPENSATORY DAMAGES

19. As a sole and proximate result of the negligence of the underinsured driver as is

set forth herein, Devyan Henderson has sustained and should recover the following damages:

a`.

he has sustained injuries to his body as a whole including scaring and
disfigurement;

he has incurred medical bills and will experience future medical bills for
the reasonable care and treatment of his condition;

he has experienced excruciating pain and suffering and mental anguish in
the past and will so experience pain and suffering and mental anguish in
the future; and

he has lost earning capacity, as well as the loss of the ability to earn in the

future and a loss of past wages.

20. As a sole and proximate result of the negligence of the underinsured driver as is

set forth herein, Rache Henderson has sustained and should recover the following damages:

a.

she has sustained injuries to her body as a whole including seating and
disfigurement;
she has incurred medical bills and will experience future medical bills for

the reasonable care and treatment of her condition;

 

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c. she has experienced excruciating pain and suffering and mental anguish in
the past and will so experience pain and suffering and mental anguish in
the future; and

d. she has lost earning capacity, as well as the loss of the ability to earn in the
future and a loss of past wages.

2|. For all of which, Plaintiff, Devyan Henderson and Plaintifl` Rache Henderson are
entitled to recover damages within this Court’s jurisdictional limits and for the limits of coverage
for each individual occurrence.

PUNITIVE DAMAGES

22. ln addition to the compensatory damages for the actual losses sustained by the
Plaintiffs, the conduct of State Farm, both express and implied, was intentional, willful, wanton,
reckless and done with conscious indifference to the consequences, thereby entitling the
Plaintiffs to punitive damages Therefore, Plaintiffs should be awarded punitive damages in a
total sum within the jurisdiction of this Court and in excess of federal diversity jurisdiction.

DEMAND FOR JURY TRIAL

23. Plaintiffs demands a trial by jury on all issues herein plead.

 

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WHER.EFORE, the Plaintiffs Devyan Henderson and Rache Henderson, respectfully
requests judgment against the Defendant for its failure to pay underinsured motorist benths; for
pre and post judgment interest; for additional damages in the amount of 12% of the awarded
damages; for a trial byjury on all issues contained herein; for all costs herein expended; and for

all otherjust and proper relief to which they may be entitled.

   

Respectfully submitted

 

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